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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


                                            :
    DONNA CURLING, et al.,                  :
                                            :
         Plaintiffs,                        :
                                            :
                                                      CIVIL ACTION NO.
    v.                                      :
                                                      1:17-cv-2989-AT
                                            :
    BRAD RAFFENSPERGER, et al.,             :
                                            :
         Defendants.                        :

                                      ORDER

         On January 9, 2023, the State Defendants filed Motions for Summary

Judgment against the Curling and Coalition Plaintiffs. 1 (Docs. 1567, 1568.) In

support of their Motions for Summary Judgment, the State Defendants filed the

“MITRE Report,” which is currently sealed from public view on the docket and

described further below. (Doc. 1570-4.) The Plaintiffs oppose the State Defendants’

Motions and rely on the July 2021 report written by cybersecurity expert Dr. J.

Alex Halderman (the “Halderman Report”) to support their opposition. (See Docs.

1624, 1636, 1639.) Like the MITRE Report, the Halderman Report is currently

sealed from public view on the docket. Indeed, the Halderman Report, which

concerns potential vulnerabilities in Dominion’s ICX ballot marking device

(“BMD”) system that is used for elections in the State of Georgia as well as several



1The Fulton County Defendants similarly filed a Motion for Summary Judgment against the
Curling and Coalition Plaintiffs. (Doc. 1571.)
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other States, has been sealed and treated as “Attorneys’ Eyes Only” since it was

filed on July 12, 2021 pursuant to the parties’ consent protective order. (Docs. 477,

1130, 1131, 1639.) On May 3, 2023, counsel for the Curling Plaintiffs requested via

email that the Court unseal the Halderman Report subject to their previously

proposed redactions. 2 It is the Court’s understanding that the State Defendants do

not oppose the Curling Plaintiffs’ unsealing request.

          In response to a follow-up inquiry from the Court regarding the Curling

Plaintiffs’ unsealing request, counsel for the Curling Plaintiffs emailed the Court a

series of letters and declarations from various cybersecurity experts in support of

their request. These letters and declarations reference not only the Halderman

Report but also the MITRE Report — a July 2022 report prepared by the MITRE

Corporation’s National Election Security Lab that “undertakes a technical analysis

to assess the feasibility of [the Halderman Report]’s proposed attacks [against

Georgia’s BMD software] to change the outcome of a Georgia election.” (Doc. 1570-

4.) Counsel for the Curling Plaintiffs requested that the letters and declarations be

included on the public docket. However, for several reasons, including that the

MITRE Report may have been created in violation of this Court’s protective order

(see Doc. 1520) and provided to Dominion in contravention of the Court’s prior

sealing order, the Curling Plaintiffs contend that the MITRE Report should be

struck from the docket. Alternatively, Plaintiffs request that the MITRE Report

remain under seal as long as the Halderman Report is under seal and that the


2   Importantly, the Curling Plaintiffs previously requested that the Halderman Report be unsealed.

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MITRE Report should not be publicly disclosed until Dr. Halderman and the

United States Cybersecurity and Infrastructure Agency (the “CISA”) have had the

opportunity to review it and propose redactions.

        The State Defendants oppose the inclusion of the letters and declarations on

the public docket. The State Defendants argue that it would be improper for

Plaintiffs to introduce new evidence now that discovery has closed, and that none

of these additional materials should be considered for purposes of resolving

Defendants’ Motions for Summary Judgment. Alternatively, the State Defendants

request that the MITRE Report also be added to the public docket and treated in

conjunction with the Halderman Report. The Court addresses each of these issues

in turn.

   I.       The Halderman Report

        The Court begins by addressing the Curling Plaintiffs’ request to unseal the

redacted version of the Halderman Report. “The operations of the courts and the

judicial conduct of judges are matters of utmost public concern.” Landmark

Commc’ns, Inc. v. Virginia, 435 U.S. 829, 839 (1978). Given this, there is a

“common-law right of access to judicial proceedings,” which includes “the right to

inspect and copy public records and documents.” Chicago Trib. Co. v.

Bridgestone/Firestone, Inc., 263 F.3d 1304, 1311 (11th Cir. 2001). The right of

access is not absolute, however. Instead, “a judge’s exercise of discretion in

deciding whether to release judicial records should be informed by a ‘sensitive

appreciation of the circumstances that led to the production of the particular

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document in question.’” Id. at 1311 (cleaned up) (quoting Nixon v. Warner

Commc’ns, Inc., 435 U.S. 589, 597 (1978)). Furthermore, the right of access may

be overcome by a showing of good cause, which requires (1) balancing the public’s

interest in accessing the information against the other party’s interest in keeping

the information confidential, and (2) considering the “nature and character of the

information in question.” See id. at 1314–15; Romero v. Drummond Co., 480 F.3d

1234, 1246 (11th Cir. 2007).

      In performing this balancing act, federal courts consider many case-specific

factors, including, but not limited to:

      whether allowing access would impair court functions or harm
      legitimate privacy interests, the degree of and likelihood of injury if
      made public, the reliability of the information, whether there will be
      an opportunity to respond to the information, whether the
      information concerns public officials or public concerns, and the
      availability of a less onerous alternative to sealing the documents.

Romero, 480 F.3d at 1246.

      Importantly, “[w]hen applying the common-law right of access[,] federal

courts traditionally distinguish between those items which may properly be

considered public or judicial records and those that may not.” F.T.C. v. AbbVie

Prod. LLC, 713 F.3d 54, 62 (11th Cir. 2013) (emphasis added) (citation omitted).

The public has a right to access judicial records but does not have a right to access

documents that do not qualify as such. Id. More specifically, the Eleventh Circuit

has stated that “material filed with discovery motions is not subject to the

common-law right of access, whereas discovery material filed in connection with


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pretrial motions that require judicial resolution of the merits is subject to the

common-law right.” Chicago Trib., 263 F.3d at 1312. In other words, materials

produced in discovery “do not automatically qualify as judicial records subject to

the common-law right of access,” but only “take on that status once they are filed

in connection with a substantive motion.” Callahan v. United Network for Organ

Sharing, 17 F.4th 1356, 1362 (11th Cir. 2021). “[W]e determine whether a

document is a judicial record depending on the type of filing it accompanied.”

AbbVie Prod., 713 F.3d at 64.

      Here, the Curling Plaintiffs originally filed the Halderman Report on the

docket as a component of a Joint Discovery Statement that did not require “judicial

resolution of the merits.” (See Docs. 1130, 1131.) The Court therefore held in August

2022 (Doc. 1453) that the common-law right of public access had yet to attach to

the Report and that it should therefore remain under seal given the serious election

security concerns raised by the potential release of the Report even with the

Curling Plaintiffs’ proposed redactions.

      Since that time, the Halderman Report has been relied on by the Plaintiffs

in opposition to the State Defendants’ Motions for Summary Judgment, i.e.,

substantive motions that require “judicial resolution of the merits.” (See Doc.

1639.) Therefore, the common-law right of public access has now attached to the

Report. All parties agree that the Curling Plaintiffs’ proposed redactions to the

Halderman Report provide appropriate safeguards against any election security

risk and hacking concerns previously raised by the Court. The CISA also agrees

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that “Plaintiffs’ most-recent proposed redactions appropriately manage the risk to

election security while advancing security through transparency.” (Doc. 1430 at 2.)

For all these reasons, the Court GRANTS the Curling Plaintiffs’ request to unseal

the redacted version of the Halderman Report on the docket for public view. 3

          Before turning to the MITRE Report, the Court briefly addresses the letters

and declarations that the Curling Plaintiffs submitted in support of their request

to unseal the Halderman Report. Despite the State Defendants’ objection, the

Curling Plaintiffs have recently filed the letters and declarations on the public

docket. (Doc. 1678.) These materials were filed on the docket without the Court’s

approval. Nevertheless, the Court GRANTS the Curling Plaintiffs’ request to file

the letters and declarations on the docket nunc pro tunc. However, the Court will

not consider these materials for purposes of resolving Defendants’ Motions for

Summary Judgment.

    II.      The MITRE Report

          Like the Halderman Report, the MITRE Report (Doc. 1570-4) was filed in

connection with the State Defendants’ Motions for Summary Judgment, i.e.,

substantive motions that require “judicial resolution of the merits.” Therefore, the

common-law right of public access has now attached to the MITRE Report.

Additionally, the Court directed the parties to review and provide any proposed

redactions to the MITRE report in order to mitigate and safeguard against any


3As very small minor corrections have been made in the text of the Halderman report, the Court
DIRECTS Plaintiffs’ counsel to file the corrected version of the report on the docket and redact
only the minimal words that were previously redacted in the sealed version.

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potential election security risk associated with the public publication of the MITRE

Report. (Doc. 1674.) Counsel for Plaintiffs and Defendants both indicated that no

such redactions were necessary. For these reasons, and consistent with this Court’s

long recognized view that great weight should be afforded to the public’s right to

access material filed on the docket, the Court ORDERS that the MITRE Report be

made available for public view. As the Defendants did not seek to make the MITRE

Report available to the Plaintiffs during the discovery period prior to summary

judgment briefing, the Court will not consider the MITRE report in connection

with the summary judgment motion.

   III.    Conclusion

      Having considered the parties’ arguments, the Court GRANTS the Curling

Plaintiffs’ request to unseal Dr. Halderman’s July 2021 report subject to the

Curling Plaintiffs’ previously proposed redactions. The Court also GRANTS nunc

pro tunc the Curling Plaintiffs’ request to file the additional letters and

declarations they provided in support of their request to unseal the Halderman

Report. However, the Court will not consider these additional materials for

purposes of resolving Defendants’ Motions for Summary Judgment.

      The Court understands that the Curling Plaintiffs have previously filed the

redacted version of the Halderman Report on the docket under seal (Doc. 1639)

and that the previously filed version of the Report contains some extremely minor

errors. Therefore, the Curling Plaintiffs are DIRECTED to file the corrected,

redacted version of the Halderman Report on the docket within the next seven

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days. The Clerk is DIRECTED to permanently seal the previously filed version of

the Report that contains errors (Doc. 1639.).

      Finally, immediately following the Curling Plaintiffs’ filing of the Halderman

Report on the docket as ordered (in the next 7 days), the Clerk is DIRECTED to

unseal the MITRE Report (Doc. 1570-4) so that it will also be available on the

public docket in the same time frame.


        IT IS SO ORDERED this 7th day of June, 2023.



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                                        Honorable Amy Totenberg
                                        United States District Judge




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